              UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF TENNESSEE
                            AT KNOXVILLE
________________________________________________________________________

MICHAEL A. HILL                  )
                                 )
           Plaintiff,            )
                                 )
      v.                         )     Civil Action No. _____________
                                 )
ASSET ACCEPTANCE, LLC,           )     Jury Trial Demanded
                                 )
           Defendant.            )
________________________________________________________________________

                                     COMPLAINT


                                    INTRODUCTION

1.    This action arises out of Defendant’s violations of the Fair Debt Collection Practices

      Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) in its illegal efforts to collect a consumer

      debt.

                                JURISDICTION AND VENUE

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §

      1692k(d).

3.    Venue is proper in this District because the acts and transactions occurred here, and

      Plaintiff resides here.

                                         PARTIES

4.    Plaintiff Michael A. Hill (“Plaintiff”) is a natural person who resides in Sevier

      County, Tennessee, and a “consumer” as defined by 15 U.S.C. § 1692a(3).


                                    1
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 1 of 20 PageID #: 1
5.     Defendant Asset Acceptance, LLC (“Asset Acceptance”) is a “debt collector” as

       defined by 15 U.S.C. § 1692a(6).

                               FACTUAL ALLEGATIONS

6.     Asset Acceptance has alleged that Plaintiff incurred an obligation to pay money

       arising out of a transaction in which the money, property, insurance or services

       which are the subject of the transaction are primarily for personal, family or

       household purposes, and is therefore a “debt” as defined by 15 U.S.C. § 1692a(5),

       namely, a credit card debt allegedly originally owed to and/or serviced by Bank of

       America (“BOA”).

7.     Asset Acceptance regularly engages in the collection of delinquent consumer debts

       by sending collection letters, making collection calls, credit reporting, and filing

       collection lawsuits as the named plaintiff.

8.     After the debt became delinquent, Asset Acceptance purchased the debt from BOA

       or an assignee of BOA for purposes of collection from Plaintiff, and engaged in

       collection activity by sending collection letters, making collection calls, credit

       reporting, and hiring the law firm Fulton Friedman & Gullace, L.L.P. (“Fulton”) to

       assist it in collection of the debt from Plaintiff.

     Asset Acceptance’s Actual Knowledge Plaintiff Is Represented By An Attorney

9.     On August 23, 2012, Fulton filed a civil summons and sworn affidavit on behalf of

       Asset Acceptance in state court, and caused the civil summons and sworn affidavit to

       be served on Plaintiff (collectively the “collection lawsuit”). Copy filed as exhibit 1

       (“Doc. 1-1”).

                                    2
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 2 of 20 PageID #: 2
10.   The civil summons and sworn affidavit were served in connection with collection

      of the debt and in an attempt to collect the debt, and each is a “communication” as

      defined by 15 U.S.C. § 1692a(2).

11.   The amounts demanded by Asset Acceptance, in both the civil summons and

      sworn affidavit was $12,262.57.

12.   The initial hearing in the collection lawsuit was set for October 25, 2012.

13.   After Plaintiff was served with the collection lawsuit on August 24, 2012, he

      retained an attorney to represent him with respect to the debt.

14.   On February 26, 2013, Plaintiff’s attorney filed a sworn denial on his behalf in the

      state court action, and served a copy on an attorney employed by Fulton, providing

      an agent of Asset Acceptance, and, therefore, Asset Acceptance, actual knowledge

      that an attorney represented Plaintiff with respect to the debt. Copy filed as

      exhibit 2 (“Doc. 1-2”).

15.   After being continued several times, the collection lawsuit was dismissed without

      prejudice by Asset Acceptance on September 9, 2013. See Doc. 1-1, p. 1.

  Communications Directly With Plaintiff With Actual Knowledge of Representation

16.   FDCPA states: [A]fter the debt collector knows the consumer is represented by an

      attorney with regard to the subject debt and has knowledge of, or can readily

      ascertain, such attorney’s name and address, not communicate with any person

      other than that attorney, unless the attorney fails to respond within a reasonable

      period of time to communication from the debt collector. 15 U.S.C. § 1692b(6).



                                    3
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 3 of 20 PageID #: 3
17.   FDCPA also states: Without the prior consent of the consumer given directly to

      the debt collector or the express permission of a court of competent jurisdiction, a

      debt collector may not communicate with a consumer in connection with the

      collection of any debt—

      (2)    if the debt collector knows the consumer is represented by an attorney with

      respect to such debt and has knowledge of, or can readily ascertain, such

      attorney’s name and address, unless the attorney fails to respond within a

      reasonable period of time to a communication from the debt collector or unless the

      attorney consents to direct communication with the consumer.

      15 U.S.C. § 1692c(a).

18.   Despite having actual knowledge that an attorney represented Plaintiff with

      respect to the debt, Asset Acceptance began communicating directly with Plaintiff

      in connection with collection of the debt by sending him collection letters and

      calling his home phone.

                                   Collection Letters

19.   On or about November 1, 2014, Asset Acceptance sent a collection letter dated

      November 1, 2014 to Plaintiff’s home address, in connection with collection of the

      debt. Copy filed as exhibit 3 (“Doc. 1-3”).

20.   The November 1, 2014 collection letter is a “communication” as defined by 15

      U.S.C. § 1692a(2).

21.   The November 1, 2014 collection letter stated:




                                    4
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 4 of 20 PageID #: 4
             ORIGINAL CREDITOR: BANK OF AMERICA

                       Original Creditor Acct #:      XXXXXXXXXXXX8005
                 Asset Acceptance, LLC Acct #:        XX-XXXXXXX
                              Current Balance:        $15716.24
             DISCOUNTED Settlement Amount:            $7072.31
                              Expiration Date:        11/26/2014

             ...
             We would like to help you eliminate this debt with us. Your current
             balance is $15716.24, but if you pay us $7072.31 by 11/26/2014, we
             will close your account and consider it paid.
             ...
             TO ACCEPT THIS OFFER YOU ONLY NEED TO TAKE
             ONE OF THE FOLLOWING ACTIONS:

             •      Call Sal Hernandez toll-free at (877) 850-0087 ext. 0 today to
                    discuss the offer details and set up your payment
                    arrangements.

             •      Go online to aallc.solvemydebt.com using your debit card,
                    credit card or checking account. Your Login ID is your Asset
                    Acceptance, LLC Acct#; XX-XXXXXXX. Enter the last 4 digits
                    of your Social Security Number for your password.

             •      Mail a check or money order made payable to Asset
                    Acceptance, LLC using the remittance coupon below and the
                    enclosed return envelope.
             ...
             Please note that the Current Balance was calculated on 10/19/2014 and
             may vary due to payments and/or accrual of interest after that date.

             This is an attempt to collect a debt and any information obtained
             will be used for that purpose.”

      Doc. 1-3, p. 1.

22.   On or about December 1, 2014, Asset Acceptance sent a collection letter dated

      December 1, 2014 to Plaintiff’s home address, in connection with collection of the

      debt. Copy filed as exhibit 4 (“Doc. 1-4”).


                                    5
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 5 of 20 PageID #: 5
23.   The December 1, 2014 collection letter is a “communication” as defined by 15

      U.S.C. § 1692a(2).

24.   The December 1, 2014 collection letter stated:

             ORIGINAL CREDITOR: BANK OF AMERICA

                       Original Creditor Acct #:       XXXXXXXXXXXX8005
                 Asset Acceptance, LLC Acct #:         XX-XXXXXXX
                              Current Balance:         $15810.31
             DISCOUNTED Settlement Amount:             $7114.64
                              Expiration Date:         12/30/2014

             ...
             We would like to help you eliminate this debt with us. Your current
             balance is $15810.31, but if you pay us $7114.64 by 12/30/2014, we
             will close your account and consider it paid.
             ...
             TO ACCEPT THIS OFFER YOU ONLY NEED TO TAKE
             ONE OF THE FOLLOWING ACTIONS:

             •      Call Sal Hernandez toll-free at (877) 850-0087 ext. 0 today to
                    discuss the offer details and set up your payment
                    arrangements.

             •      Go online to aallc.solvemydebt.com using your debit card,
                    credit card or checking account. Your Login ID is your Asset
                    Acceptance, LLC Acct#; XX-XXXXXXX. Enter the last 4 digits
                    of your Social Security Number for your password.

             •      Mail a check or money order made payable to Asset
                    Acceptance, LLC using the remittance coupon below and the
                    enclosed return envelope.
             ...
             Please note that the Current Balance was calculated on 11/18/2014 and
             may vary due to payments and/or accrual of interest after that date.

             This is an attempt to collect a debt and any information obtained
             will be used for that purpose.”

      Doc. 1-4, p. 1.


                                    6
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 6 of 20 PageID #: 6
25.   On or about January 2, 2015, Asset Acceptance sent an undated collection letter to

      Plaintiff’s home address, in connection with collection of the debt. Copy filed as

      exhibit 5 (“Doc. 1-5”).

26.   The undated collection letter is a “communication” as defined by 15 U.S.C. §

      1692a(2).

27.   The undated collection letter stated:

                                DISCOUNTED OFFER FOR:
                                     Michael A. Hill

                  ORIGINAL CREDITOR:                  BANK OF AMERICA
                    Original Creditor Acct #:         XXXXXXXXXXXX8005
              Asset Acceptance, LLC Acct #:           XX-XXXXXXX
                           Current Balance:           $15,911.10
                             Percentage Off:          55%
             DISCOUNTED Offer Amount:                 $7,159.99
                       That’s a Savings Of:           $8,751.11


                                TO ACCEPT THIS OFFER:

             Call Sal Hernandez toll-free at (877) 850-0087 ext. 0 today to
             discuss the offer details and set up your payment arrangement.

             Pay on aallc.solvemydebt.com using your debit card, credit card or
             checking account. Your Login ID is your account number, 11-
             3426312. Your password is the last four digits of your Social
             Security Number.

             Mail a check or money order made payable to Asset Acceptance,
             LLC for the Discounted Offer Amount using the remittance coupon
             below and the enclosed return envelope.
             ...
             Please note that the Current Balance was calculated on 12/17/2014 and
             may vary due to payments and/or accrual of interest after that date.




                                    7
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 7 of 20 PageID #: 7
             This is an attempt to collect a debt and any information obtained will
             be used for that purpose.”

      Doc. 1-5, p. 1.

28.   On or about February 2, 2015, Asset Acceptance sent an undated collection letter

      to Plaintiff’s home address, in connection with collection of the debt. Copy filed

      as exhibit 6 (“Doc. 1-6”).

29.   The undated collection letter is a “communication” as defined by 15 U.S.C. §

      1692a(2).

30.   The undated collection letter stated:

                                DISCOUNTED OFFER FOR:
                                     Michael A. Hill

                  ORIGINAL CREDITOR:                  BANK OF AMERICA
                    Original Creditor Acct #:         XXXXXXXXXXXX8005
              Asset Acceptance, LLC Acct #:           XX-XXXXXXX
                           Current Balance:           $16,005.97
                             Percentage Off:          60%
             DISCOUNTED Offer Amount:                 $6,402.07
                       That’s a Savings Of:           $9,603.10


                                TO ACCEPT THIS OFFER:

             Call Sal Hernandez toll-free at (877) 850-0087 ext. 0 today to
             discuss the offer details and set up your payment arrangement.

             Pay on aallc.solvemydebt.com using your debit card, credit card or
             checking account. Your Login ID is your account number, 11-
             3426312. Your password is the last four digits of your Social
             Security Number.

             Mail a check or money order made payable to Asset Acceptance,
             LLC for the Discounted Offer Amount using the remittance coupon
             below and the enclosed return envelope.


                                    8
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 8 of 20 PageID #: 8
             ...
             Please note that the Current Balance was calculated on 01/16/2014
             [sic] and may vary due to payments and/or accrual of interest after that
             date.
             ...
             This is an attempt to collect a debt and any information obtained will
             be used for that purpose.”

      Doc. 1-6, p. 1.

      (Bold and capital letters in original letters)

                                          Collection Calls

31.   Additionally, despite Asset Acceptance having actual knowledge that an attorney

      represented Plaintiff with respect to the debt, on January 14, 2015, Plaintiff started

      receiving phone calls from Asset Acceptance on his home telephone.

32.   Each of the collection calls showed up on Plaintiff’s caller ID as:

                                  TOLL FREE CALLER

                                       800-545-9931

33.   Telephone number 800-545-9931 is a telephone number owned by or has been

      assigned to Asset Acceptance and is used by its employees to communicate with

      consumers in connection with collection of debts.

34.   Plaintiff received at least two dozen collection calls from Asset Acceptance in a

      little over two weeks, from January 14, 2015 to January 31, 2015.

35.   Besides one call, discussed more in detail below, the collection calls were received

      every weekday during this period, sometimes twice day, and once, three times in

      the same day, as shown below:




                                    9
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 9 of 20 PageID #: 9
             DATES/TIMES

       January 14, 2015    6:37 p.m.

       January 15, 2015    4:17 p.m.

       January 16, 2015    9:14 a.m., 5:12 p.m.

       January 19, 2015    9:41 a.m., 5:41 p.m.

       January 20, 2015   12:26 p.m., 5:24 p.m.

       January 21, 2015   10:31 a.m., 2:58 p.m.

       January 22, 2015    9:59 a.m., 2:49 p.m., 6:32 p.m.

       January 23, 2015   10:20 a.m., 2:24 p.m.

       January 26, 2015    9:26 a.m., 6:11 p.m.

       January 27, 2015    9:31 a.m., 4:41 p.m.

       January 28, 2015   10:25 a.m., 5:42 p.m.

       January 29, 2015    5:11 p.m.

       January 30, 2015    2:53 p.m.

 36.   Most of the collection calls were made while Plaintiff and his wife were not at

       home or otherwise unable to answer.

 37.   On Saturday, January 31, 2015, at approximately 9:18 a.m., Plaintiff received

       another collection call from Asset Acceptance.

 38.   After Plaintiff’s wife answered the telephone and asked who was calling, the caller

       stated “Jewel Gibson” and that she wished to speak with Plaintiff.

 39.   After his wife handed him the telephone, Ms. Gibson told Plaintiff the call was

       being monitored or recorded and that she needed to “speak with Michael Hill”.

                                     10
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 10 of 20 PageID #: 10
 40.   After Plaintiff identified himself, Ms. Gibson stated she was with Asset

       Acceptance and she was calling about a Bank of America account that had a

       current balance of $16,058.92, and they were sending out a letter for February that

       offered a 60% discount, and asked Plaintiff if he would be able to pay $6,402.07.

 41.   Plaintiff replied an attorney represented him regarding this debt, and even though

       Asset Acceptance had been notified of this representation, it continued to call him.

 42.   Ms. Gibson replied that her records did not show Plaintiff had an attorney and

       after Plaintiff provided information about his attorney that Asset Acceptance

       already possessed, he requested Ms. Gibson’s name and extension number.

 43.   After Ms. Gibson provided her name and extension number (#67547), Plaintiff

       reminded her that he had an attorney and despite Asset Acceptance had been

       notified of this representation much earlier, still continued to call him.

 44.   Each of Asset Acceptance’s collection letters sent and collection calls made during

       the past year is a “communication” as defined by 15 U.S.C. § 1692a(2).

 45.   Prior to Asset Acceptance sending the collection letters and making the collection

       calls, Asset Acceptance failed to contact Plaintiff’s attorney to inquire about his

       continued representation of Plaintiff with respect to the debt or provide him an

       opportunity to respond within a reasonable period of time to an Asset Acceptance

       communication regarding his continued representation.




                                     11
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 11 of 20 PageID #: 11
 46.   Prior to Asset Acceptance sending the collection letters and making the collection

       calls, Plaintiff’s attorney never consented to direct communication with Plaintiff

       by Asset Acceptance in connection with collection of the debt.

 47.   By communicating with Plaintiff in connection with the collection of the debt in

       the form of collection letters and collection calls when it had actual knowledge

       Plaintiff was represented by an attorney with respect to the debt, Asset Acceptance

       violated 15 U.S.C. §§ 1692b(6) and 1692c(a)(2).

              Attempting To Collect Interest and/or Fees Waived By Original Creditor

 48.   Under federal banking regulations, a credit card debt must be charged off when it

       is 180 days overdue (it may be charged off earlier). Federal Financial Institutions

       Examination Council, Uniform Retail Credit Classification and Account

       Management Policy, 65 FR 36903 (June 12, 2000).

 49.   Charge off means that a credit card receivable is no longer carried on a bank’s

       books as an asset.

 50.   On information and belief, BOA charged off the debt in March 2010 and

       intentionally did not charge interest after charge off.

 51.   On information and belief, the standard form credit card agreements used by BOA

       provides that it may change the terms of the agreement from time to time, and that

       changes beneficial to the consumer such as a reduction in or waiver of interest

       may be effected immediately and without notice.




                                     12
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 12 of 20 PageID #: 12
 52.   On information and belief, as a standard Practice, and for a variety of sound

       business reasons, BOA waives interest and/or fees on credit card debts after

       charge off for as long as it holds the debt.

 53.   On information and belief, in accordance with standard business Practices, BOA

       waived interest and fees on Plaintiff’s credit card debt, after charge off.

 54.   If BOA waived the right to add interest and/or fees post charge off, Asset

       Acceptance acquired the debt subject to that waiver.

 55.   On information and belief, the amount of the debt Asset Acceptance allegedly

       purchased from BOA did not include post charge off interest and/or fees.

 56.   On information and belief, Asset Acceptance paid a price for the alleged debt it

       allegedly purchased based on the charge off balance stated by BOA.

 57.   On information and belief, it is Asset Acceptance’s standard practice, after paying

       a price based on an amount that does not include post charge off interest and/or

       fees, to demand post charge off interest and/or fees that would not have been

       charged by the original creditor as part of its collection efforts.

 58.   By adding interest and/or fees to the amount allegedly purchased from BOA that

       had not been added by BOA after charge off, Asset Acceptance violated 15 U.S.C.

       §§1692e, 1692e(2)(A), 1692e(2)(B), 1692e(10), 1692f, and 1692f(1).

 59.   Further, Asset Acceptance engaged in a false and deceptive collection practice

       (contrary to 15 U.S.C. §1692e) and an unfair debt collection Practice (contrary to

       15 U.S.C. §1692f), for adding unauthorized interest and/or fees to the alleged debt.



                                     13
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 13 of 20 PageID #: 13
 60.   On information and belief, in addition to the decision by BOA to waive collection

       of any interest after charge off, BOA did not make any effort to comply with the

       prerequisite to charge interest under the Truth in Lending Act.

 61.   12 CFR § 226.5(b)(2)(i) of Regulation Z, which implements the TILA, provides:

              Statement required. The creditor shall mail or deliver a periodic
              statement as required by § 226.7 for each billing cycle at the end of
              which an account has a debit or credit balance of more than $1 or on
              which a finance charge has been imposed. A periodic statement need
              not be sent for an account if the creditor deems it uncollectible, if
              delinquency collection proceedings have been instituted, if the
              creditor has charged off the account in accordance with loan-loss
              provisions and will not charge any additional fees or interest on the
              account, or if furnishing the statement would violate federal law.

 62.   On information and belief, BOA did not send periodic statements after it charged off

       the debt allegedly assigned to Asset Acceptance.

 63.   BOA is not allowed to charge interest if it did not provide a periodic statement.

 64.   BOA’s decision to not send any periodic statements after charge off also

       demonstrates an implied waiver to charge any additional interest.

 65.   Asset Acceptance, as an assignee of the debt, has no greater rights than BOA, and,

       therefore, had no right to assess additional interest after charge off.

                                       Credit Reporting

 66.   Under the Truth in Lending Act, a creditor is required to send periodic statements to

       the consumer. See 12 CFR § 226.5(b)(2)(i).




                                     14
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 14 of 20 PageID #: 14
 67.   The periodic statement is integral to the protections afforded to consumers under the

       Truth in Lending Act as it permits a consumer to object amounts claimed by a

       creditor as set forth on periodic statements. 15 U.S.C. § 1666.

 68.   If a consumer objects to the charges on a periodic statement, the creditor is

       prohibited from adversely reporting the disputed amounts. 15 U.S.C. § 1666a.

 69.   By failing to provide periodic statements, BOA denied Plaintiff the right to dispute

       amounts claimed as interest after the account was charged off.

 70.   Experian and TransUnion are each a consumer credit reporting agency as defined by

       15 U.S.C. § 1681a(f).

 71.   Plaintiff obtained a copy of his Experian credit report dated January 26, 2015,

       which showed that Bank of America communicated to Experian it charged off the

       debt in the amount of $12,262.00 in March 2010. Copy of Experian credit

       report information filed as exhibit 7 (“Doc. 1-7”), p. 3.

 72.   The Experian credit report information also showed that Asset Acceptance has

       been communicating information regarding the debt to Experian since February

       2012, including that the original amount of the debt was $12,262.00, which

       amount had increased to $15,968.00 as of January 2015. [Doc. 1-7, pp. 2-3].

 73.   Plaintiff obtained a copy of his TransUnion credit report dated January 26, 2015,

       which showed that Bank of America communicated to TransUnion it charged off

       the debt in the amount of $12,262.00 in March 2010. Copy of TransUnion credit

       report information filed as exhibit 8 (“Doc. 1-8”), p. 2.



                                     15
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 15 of 20 PageID #: 15
 74.   The TransUnion credit report also showed that Asset Acceptance communicated to

       TransUnion that the debt was placed for collection on December 28, 2011, the

       original amount of the debt was $12,262.00, and the balance as of January 5, 2015

       was $15,968.00. [Doc. 1-8, p. 3].

 75.   Asset Acceptance’s reporting of the alleged debt to Experian and TransUnion is a

       “communication” as defined by 15 U.S.C. § 1692a(2).

 76.   By communicating to Experian and TransUnion that Plaintiff owed an amount

       greater than BOA charged off, and which includes post charge off interest, Asset

       Acceptance violated 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(2)(B), 1692e(8),

       1692e(10), 1692f and 1692f(1).

           Collection Letters and January 31, 2015 Collection Call Amounts

 77.   Amounts in the collection letters [Docs. 1-3, 1-4, 1-5, 1-6] and Ms. Gibson’s

       January 31, 2015 collection call [$16,058.92] were also false and misleading

       communications that Plaintiff owed an amount greater than what BOA charged

       off, and included post charge off interest.

 78.   The collection letters falsely represented that the “Current Balance . . . may vary

       due to . . . [the] accrual of interest”; language that enhances the falsity of the

       representation that interest continues to accrue when Asset Acceptance knew BOA

       had waived any claim to further interest after charge off and that BOA did not

       send any periodic statements to be entitled to collect post charge off interest.




                                     16
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 16 of 20 PageID #: 16
 79.   The addition of amounts for interest not legally due was material because Asset

       Acceptance made offers to settle the account for a percentage of the total amount

       claimed to be owed, and by including interest not legally due, Asset Acceptance

       was seeking a greater percentage of the debt alleged owed than represented in its’

       collection letters and collection call.

 80.   The increase in balance as stated in the collection letters, collection call and credit

       reports is indicative that post charge off interest was being added to the account

       despite not being sought or alleged to exist in the collection lawsuit.

 81.   The fact that Asset Acceptance only showed the charge off balance as due when it

       filed the collection lawsuit, when no payments had been made on the account, is

       indicative of Asset Acceptance’s false and misleading representations in the

       collection letters and collection call of the actual amount legally owed, in violation

       of 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(2)(B), 1692e(10), 1692f and 1692f(1).

 82.   Plaintiff asserts that the constantly changing balances asserted by Asset

       Acceptance is an attempt to keep him confused and misled as to the amount owed

       so that if he were to make payments on the account, he would never know the

       actual amount owed and instead would keep paying indefinitely on fees, interest,

       or other charges that were never legally owed by him.

 83.   By requesting different amounts in the various communications, Asset Acceptance

       made conflicting statements as to the amount owed that would be confusing to the

       least sophisticated consumer as to how much is legally owed and resulted in Asset

       Acceptance making false representations (a) of the character, amount, or legal

                                     17
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 17 of 20 PageID #: 17
       status of any debt, and (b) of the compensation which may be lawfully received by

       any debt collector for the collection of any debt, in violation of 15 U.S.C. §§

       1692e, 1692e(2)(A), and 1692e(2)(B).

                                        Summary

 84.   Asset Acceptance’s above-detailed conduct in connection with collection of the

       debt and in an attempt to collect the debt was in violation of multiple FDCPA

       provisions, including the ones cited above.

                                    TRIAL BY JURY

 85.   Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

       amend. 7. Fed.R.Civ.P. 38.

                                 CAUSES OF ACTION

                                     COUNTS I-IX.

       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                15 U.S.C. §§ 1692b(6), 1692c(a)(2), 1692e, 1692e(2)(A),
                 1692e(2)(B), 1692e(8), 1692e(10), 1692f, and 1692f(1)

 86.   Plaintiff incorporates by reference all of the above paragraphs as though fully

       stated herein.

 87.   The foregoing acts and omissions of Asset Acceptance constitutes numerous and

       multiple FDCPA violations, including, but not limited to each and every one of the

       above-cited provisions.

 88.   As a result of Asset Acceptance’s FDCPA violations, Plaintiff is entitled to actual

       damages pursuant to 15 U.S.C. § 1692k(a)(1), in an amount to be determined at


                                     18
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 18 of 20 PageID #: 18
       trial by a jury; statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A) in the

       amount of $1,000.00; and, reasonable attorney’s fees and costs pursuant to 15

       U.S.C. § 1692k(a)(3) from Asset Acceptance.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Asset Acceptance:

                                        COUNTS I-IX.

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                    15 U.S.C. §§ 1692b(6), 1692c(2)(A), 1692e, 1692e(2)(A),
                     1692e(2)(B), 1692e(8), 1692e(10), 1692f, and 1692f(1)

       • for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against

            Asset Acceptance and for Plaintiff, in an amount to be determined at trial by a

            jury;

       • for an award of statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(A) in

            the amount of $1,000.00 against Asset Acceptance, and for each Plaintiff;

       • for an award of costs of litigation and reasonable attorney’s fees pursuant to 15

            U.S.C. § 1692k(a)(3) against Asset Acceptance and for Plaintiff; and

       • for such other and further relief as may be just and proper.

 03/31/15                                   Respectfully submitted,

                                            MICHAEL A. HILL

                                            s/      Alan C. Lee
                                            Alan C. Lee, BPR # 012700
                                            P. O. Box 1357
                                            Talbott, TN 37877-1357
                                            (423) 581-0924
                                            aleeattorney@gmail.com

                                     19
Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 19 of 20 PageID #: 19
            VERIFICATION OF COMPLAINT AND CERTIFICATION

      Pursuant to 28 U.S.C. § 1746, Plaintiff Michael A. Hill, states as follows:

   1. I am a Plaintiff in this civil proceeding.

   2. I have read the above-entitled civil Complaint prepared by my attorney and I
       believe that all of the facts contained in it are true, to the best of my knowledge,
       information and belief formed after reasonable inquiry.

   3. I believe that this civil Complaint is well grounded in fact and warranted by
       existing law or by a good faith argument for the extension, modification, or
       reversal of existing law.

   4. I believe that this civil Complaint is not interposed for any improper purpose,
       such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),
       or create a needless increase in the cost of litigation to any Defendant(s), named in
      the Complaint.

   5. I have filed this civil Complaint in good faith and solely for the purposes set forth
       in it.

   6. Each and every exhibit I have provided to my attorneys which has been attached
      to this Complaint is a true and correct copy of the original.

   7. Except for clearly indicated redactions made by my attorneys where appropriate, I
      have not altered, changed, modified, or fabricated these exhibits, except that some
      of the attached exhibits may contain some of my own handwritten notations.

         I verify under penalty of perjury that the foregoing is true and correct.



   Executed on: February <l^u , 2015.




  By:Michael
         Trf^l-J/t   //i^
             A. Hill



Case 3:15-cv-00144-PLR-CCS Document 1 Filed 03/31/15 Page 20 of 20 PageID #: 20
